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      SANDRA EDMONDS
 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
      Sandra Edmonds,                               Case No.:
12
                Plaintiff,
13
          v.                                 COMPLAINT FOR VIOLATIONS
14                                           OF: AMERICAN’S WITH
      Cameo Properties LLC, a California     DISABILITIES ACT OF 1990, 42
15    Limited Liability Company; and Does 1- U.S.C. § 12181 et seq.; UNRUH
      10,                                    CIVIL RIGHTS ACT, CALIFORNIA
16                                           CIVIL CODE § 51 et seq.
17
              Defendants.

18
19
20
               Plaintiff Sandra Edmonds (hereinafter referred to as “Plaintiff”), complains
21
      of Cameo Properties LLC, a California Limited Liability Company; and Does 1-10
22
      (each, individually a “Defendant” and collectively “Defendants”) and alleges as
23
      follows:
24
                                  I.    PARTIES
25
               1.    Sandra Edmonds suffers from osteoarthritis. Her movement and
26
27    walking are impaired. The arthritis affects her knees and lower back especially

28    severely. The cartilage in both her knees has eroded. The bones in the knees grind

                                            COMPLAINT
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 1    on each other, causing pain and impairment. She relies on a walker or cane on a
 2    daily basis for mobility. Plaintiff is a California resident with physical disabilities.
 3
      Plaintiff is qualified as being disabled pursuant to 42 USC Section 12102(2)(A), the
 4
      California Unruh Civil Rights Act, Sections 51, et seq. and 52, et seq., and other
 5
      statutory laws which protect the rights of “disabled persons”. Plaintiff has a
 6
      “physical disability” as defined by California Government Code §12926. Plaintiff
 7
      has been issued a blue permanent disability Disabled Person Parking Placard by the
 8
      State of California.
 9
10          2.     Defendant Cameo Properties LLC, a California Limited Liability

11    Company, owned the property (“Property”) located at 5800 Obama Blvd., Los

12    Angeles, CA 90016, at all relevant times.
13          3.     There is a business establishment on the Property known as the “Carl’s
14    Jr" (hereinafter “the business”).
15          4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
16    owners, subsidiaries, parent companies, employers, employees, agents, corporate
17    officers, managers, principles and/or representatives of Defendants. Plaintiff is
18
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
19
      through 10, inclusive, and therefore, sues those Defendants by fictitious names.
20
      Plaintiff requests that the Court grant leave to amend this complaint to allege the
21
      true names and capacities when determined by whatever source.
22
            5.     Plaintiff alleges that Defendants at all times have been and are relevant
23
      to this cause of action, the owners, franchisees, lessees, general partners, limited
24
25    partners, agents, employees, employers, represent partners, subsidiaries, partner

26    companies, and/or joint ventures of the remaining Defendants and were acting
27    within the course and scope of that relationship. Plaintiff is further informed and
28    believes and alleges that each of the Defendants gave consent to, ratified, and/or
                                              2
                                          COMPLAINT
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 1    authorized the acts alleged of each of the remaining defendants.
 2           6.     Plaintiff visited the public accommodations owned and operated by
 3
      Defendants with the intent to purchase and/or use the goods, services, facilities,
 4
      privileges, advantages or accommodations operated and/or owned by Defendants.
 5
 6
                                  II.    JURISDICTION & VENUE
 7
             7.     This Court has subject matter jurisdiction over this action pursuant to
 8
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
 9
10    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).

11           8.     Pursuant to supplemental jurisdiction, an attendant and related cause of

12    action, arising from the same nucleus of operative facts and arising out of the same
13    transactions, is also brought under California’s Unruh Civil Rights Act, which act
14    expressly incorporates the ADA.
15           9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
16    founded on the fact that the real property which is the subject of this action is
17    located in this district and that Plaintiffs cause of action arose in this district.
18
19
                                  III.   FACTS
20
             10.    The Property owned by Defendants is a facility which is open to the
21
      public and is a business establishment.
22
             11.    Plaintiff alleges that the Property has been newly constructed and/or
23
      underwent remodeling, repairs, or alterations since 1992, and that Defendants have
24
25    failed to comply with California access standards which applied at the time of each

26    new construction and/or alteration or failed to maintain accessible features in
27    operable working condition.
28           12.    Plaintiff visited the Property during the relevant statutory period on
                                             3
                                         COMPLAINT
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 1    four (4) separate occasions from January 2019, March 2019, June 2019 and
 2    September 2019 to patronize the business on the Property.
 3
            13.    Defendants did not offer persons with disabilities with equivalent
 4
      facilities, privileges and advantages offered by Defendants to other patrons.
 5
            14.    Plaintiff encountered barriers (both physical and intangible) that
 6
      interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
 7
      services, privileges and accommodations offered at the Property.
 8
            15.    However, there is no accessible parking for disabled persons and the
 9
10    parking spaces designated for disabled person do not comply with the Americans

11    with Disabilities Act (“ADA”).

12          16.    The parking area does not comply with the latest California Building
13    Codes (“2010 CBC Code”). The other areas also violate these codes. Parking are
14    one of the facilities, privileges, and advantages offered by Defendants to patrons of
15    the Property. When Plaintiff visited the Property Plaintiff experienced access
16    barriers related to parking, walkways, restroom, and other areas.
17          17.    This Carl’s Junior has uneven surfaces in its parking area.
18
      Inaccessible paths of travel around the building, vandalized signs which
19
      cannot be read, confusing jumbles of painted and incorrectly painted parking
20
      and surface street markings, faded accessibility markings and unusable
21
      restrooms with unreachable facilities.
22
            18.    There is no compliant accessible parking, walkways or restroom on the
23
      Property.
24
25          19.    Plaintiff encountered the following barriers at Defendant’s Property:

26
27          VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1); (Exterior
28          Route of Travel) An accessible route of travel was not provided to all
                                           4
                                       COMPLAINT
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 1          portions of the building, entrances and between the building and public way.
 2
 3
            VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1), 4.1.2(1);
 4
            (Transportation - Route of Travel) An accessible route of travel must be
 5
            provided within the property boundary connecting public transport zones,
 6
            parking, passenger loading zones and public streets or sidewalks they serve,
 7
            to the building entrance. There was no accessible route connecting these
 8
            elements for Plaintiff to travel: Even the exteriors of the building were not
 9
10          accessible.

11
12          VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
13          Sign – Size of Lettering). The Unauthorized Parking Towed Vehicle sign
14          lettering must be a minimum size of 1” in height. The sign was vandalized
15          was adhesive stickers and other signs covering it. Much of the signs
16          cannot be read because of the vandalism.
17
18
            VIOLATION of 2010 CBC 1129B.1; ADA 1991 Code § 4.6.2; ADA 2010
19
            Code § 208.3.1. (Minimize travel distance). The parking space reserved for
20
            disabled persons is not located to minimize the travel distance. The parking
21
            spaces closest to the entrance of the business were not disabled reserved. The
22
            disabled reserved spaces were located farther.
23
24
25          VIOLATION of 2010 CBC Code 1133B.7.1; ADA 1991 Code § 4.6.8.

26          (Abrupt Change in Level Exceeding 1/2”). The path of travel from the space
27          reserved for disabled patrons, the ground surface is uneven, with changes in
28          level exceeding 1/2”.
                                           5
                                       COMPLAINT
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 1
 2          VIOLATION of 2010 CBC 1129B.3.1; ADA 1991 Code § 4.6.3; ADA
 3
            2010 Code § 502.3 (No Loading/Unloading Access Aisle). The adjacent
 4
            loading/unloading access aisle for the accessible parking space is missing
 5
            entirely. This makes it difficult for Plaintiff to use the adjacent space to
 6
            safely disembark from the car.
 7
 8
            VIOLATION of 2010 CBC Code 1129B.3.1. (“No Parking” – surface sign).
 9
10          The words “No Parking” are missing from an adjacent loading/unloading

11          access aisle. As a result, non-disabled patrons park in the loading/unloading

12          access aisle or directly behind it – blocking Plaintiff from being able to use
13          the access aisle.
14
15          VIOLATION of 2010 CBC Code 1129B.4.1 & 2. (Surface Signage) The
16          paint used for the designated accessible parking spaces was faded and cannot
17          be seen. There was no compliant surface signage at the designated disabled
18
            parking space. The International Access Symbol was so faded and worn that
19
            it cannot be read. The street surface (pavement) signage was unreadable
20
            because the paint has faded.
21
22
            VIOLATION of 2010 CBC Code Section 1127B.1. (No Accessible
23
            Exterior Route). There is no accessible path of travel into the building
24
25          entrances. There is no safe way for Plaintiff to park there and then travel to

26          the entrance of the Property.
27
28          VIOLATION of 2010 CBC Code Section 1127B.1;ADA 1991 Code §
                                           6
                                       COMPLAINT
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 1          4.6.2(1). (Directional signage). There is no directional signage showing an
 2          accessible path of travel. This Carl’s Junior has uneven surfaces in its
 3
            parking area. Inaccessible paths of travel around the building pervade.
 4
            The walkways which are partially painted lead into uneven surfaces,
 5
            changes in level, cracked asphalt, cracked concrete, slopes and cross
 6
            slopes.
 7
 8
            VIOLATION of 2010 CBC 1133B.7.4; ADA 2010 section 303.3. (Path
 9
10          from Parking – Uneven surface) The path of travel from the designated

11          disabled parking space to the entrance has damaged ground which is uneven.

12          The damaged ground is uneven with loose material. There are cracks and
13          uneven surfaces. The surface of the ground within the designated path of
14          travel leading into the entrance is not flat. This makes traveling in this area
15          difficult. The path of travel from the designated disabled parking space to the
16          entrance runs into cracks and changes in level greater than 1/2 inch but
17          provides no ramps. These steep changes in level create uneven surfaces.
18
            This Carl’s Junior has uneven surfaces in its parking area. Inaccessible
19
            paths of travel around the building pervade. The walkways which are
20
            partially painted (partially because some of the paint has worn off from
21
            age and lack of maintenance) lead into uneven surfaces, changes in level,
22
            cracked asphalt, cracked concrete, slopes and cross slopes.
23
24
25          VIOLATION of 2010 CBC 1133B.7.1; ADA § 4.3.8; (Walks/Sidewalks

26          Change in Level ½”). The walk into the business does not have a continuous
27          common surface because there are abrupt changes in level of more than ½
28          inch.
                                           7
                                       COMPLAINT
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 1
 2          VIOLATION of 2010 CBC 1133B.5.1; ADA § 4.8.1 (Ramps 5%). The
 3
            accessible route of travel is more than 1:20 (5%) but is not a compliant ramp.
 4
 5
            VIOLATION of 2010 CBC 1133B.5.2; (48” Min. for Ramps). The ramps
 6
            do not have a minimum clear width of 48” inches.
 7
 8
            VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Least Possible Slope
 9
10          of Ramp Mandatory). The least possible slope of the ramp leading into the

11          business was not used.

12
13          VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Max. Slope of Ramp
14          8.33%). The slope of the ramp leading into the business is greater than
15          8.33%.
16
17          VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4 (Level Ramp
18
            Landings). Level ramp landings must be provided at the top and bottom of
19
            each ramp. They were not provided.
20
21
            VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4(1) (Width of Ramp
22
            Landings). The landing of ramps must be at least twice the width as the tamp
23
            run leading to it, but they were not at least twice as wide.
24
25
26          VIOLATION of 2010 CBC 1133B.5.4.2; ADA § 4.8.4(2), 4.8.4(3) (Min.
27          Landing Width and Length for Top Ramp Landings 60”). The top landing of
28          ramps were not 60” wide and long as required.
                                           8
                                       COMPLAINT
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 1
 2           VIOLATION of 2010 CBC 1133B.5.4.2 (Min. Landing Length for Bottom
 3
             Ramp Landings 72”). The bottom landing of ramps was not 72” in length as
 4
             required.
 5
 6
             VIOLATION of 2010 CBC 1133B.5.4.6; ADA § 4.8.4(3) (Min. Landing
 7
             Size for Ramps Direction Change). The minimum landing size of 60” x 60”
 8
             was not provided for the ramp’s change of direction.
 9
10
11           VIOLATION of 2010 CBC 1133B.5.4.9 (Ramp Hazard Curb). The

12           minimum 2” hazard curb for the ramp with was not provided for the ramp.
13
14           VIOLATION of 2010 CBC Section 1133B.2.5; ADA 1991 Code § 4.13.11;
15           ADA 2010 Code § 404.2.9. (Effort to Operate Front Door). The door
16           opening force was greater than 5 pounds (22.2 N 1), making it hard for
17           Plaintiff to get inside the main entrance.
18
19
             VIOLATION of 2010 CBC Section 1115B.3.1.3; ADA 1991 Code § 4.23.6
20
             (5% Req. Accessible Lavatory). At least 5% or at least one lavatory
21
             complying with accessibility requirements was not provided. The restroom
22
             code to enter, for customers, is “1117”. However, once inside, more
23
             barriers were encountered.
24
25
26
      1
        The newton (symbol: N) is the International System of Units (SI) derived unit of force. It
27    is named after Isaac Newton in recognition of his work on classical mechanics,
      specifically Newton's second law of motion.
28
                                             9
                                         COMPLAINT
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 1            VIOLATION of 2010 CBC Section 1115B.4.3.4; ADA 1991 Code § 4.19.4
 2            (Hot Water Pipes Insulation). Hot water and drain pipes were not insulated or
 3
              covered.
 4
 5
              VIOLATION of 2010 CBC Section 1115B.8.4; ADA 1991 Code § 4.16.6;
 6
              ADA 2010 Code § 604.7. (Toilet paper dispenser). The toilet tissue dispenser
 7
              is mounted more than 12” from the front edge of the toilet seat, making it
 8
              hard for Plaintiff to use the toilet.
 9
10
11            VIOLATION of 2010 CBC Section 1133B.2.5; ADA 1991 Code § 4.13.11;

12            ADA 2010 Code § 404.2.9. (Effort to Operate Doors – Restroom Door). The
13            door opening force was greater than 5 pounds (22.2 N 2), making it hard for
14            Plaintiff to get inside the restroom.
15
16            VIOLATION of 2010 CBC Code 1115B.4.1.5; ADA 1991 § 4.16.5; (Flush
17            Valves). A flush valve for the toilet mounted no more than 44” above the
18
              floor on the wide side of the toilet was not provided.
19
20
              20.    Upon information and belief, there is no compliant disabled parking at
21
       the Property.
22
              21.    Plaintiff personally encountered these barriers.
23
              22.    These inaccessible conditions denied Plaintiff full and equal access
24
25     and caused difficulty, humiliation and frustration.

26
       2
         The newton (symbol: N) is the International System of Units (SI) derived unit of force. It
27     is named after Isaac Newton in recognition of his work on classical mechanics,
       specifically Newton's second law of motion.
28
                                              10
                                           COMPLAINT
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 1            23.    The barriers existed during each of Plaintiff’s visits in 2019.
 2            24.    Plaintiff alleges that Defendants knew that the architectural barriers
 3
       prevented access. Plaintiff will prove that Defendants had actual knowledge that the
 4
       architectural barriers prevented access and that the noncompliance with the
 5
       ADAAG and Title 24 of the California Building Code regarding accessible features
 6
       was intentional.
 7
              25.    Plaintiff intends to return to Defendants public accommodation
 8
       facilities in the near future. Plaintiff is currently deterred from returning because of
 9
10     the knowledge of barriers to equal access that continue to exist at Defendants’

11     facilities that relate to Plaintiff’s disabilities.

12            26.    Defendant has failed to maintain in working and useable conditions
13     those features necessary to provide ready access to persons with disabilities.
14            27.    Defendant has the financial resources to remove these barriers without
15     much expense or difficulty in order to make their Property more accessible to their
16     mobility impaired customers. These barriers are readily achievable to remove. The
17     United States Department of Justice has identified that these types of barriers are
18
       readily achievable to remove.
19
              28.    To date, Defendants refuse to remove these barriers.
20
              29.    On information and belief, the Plaintiff alleges that the Defendants’
21
       failure to remove these barriers was intentional because the barriers are logical and
22
       obvious. During all relevant times Defendants had authority, control and dominion
23
       over these conditions and therefore the absence of accessible facilities was not a
24
25     mishap but rather an intentional act.

26            30.    These barriers to access are described herein without prejudice to
27     Plaintiff citing addition barriers to access after inspection by plaintiff’s access
28     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
                                               11
                                            COMPLAINT
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 1     once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
 2     barriers that relate to their disability removed regardless of whether they personally
 3
       encountered them).
 4
 5
          IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 6         WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
 7
                                      (Against All Defendants)
 8
 9
             31.    Plaintiff alleges and incorporates by reference each and every
10
       allegation contained in all prior paragraphs of this complaint.
11
             32.    Title III of the ADA prohibits discrimination against any person on the
12
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
13
       privileges, advantages, or accommodations of any place of public accommodation
14
       by any person who owns, leases or leases to, operates a place of public
15
16     accommodation. U.S.C. § 12182(a).

17           33.    Defendants discriminated against Plaintiff by denying “full and equal

18     enjoyment” and use of the goods, services, facilities, privileges or accommodations
19     of Defendant’s facility during each visit and each incident of deterred visit.
20           34.    The acts and omissions of Defendant herein are in violation of
21     Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
22           35.     Pursuant to the ADA discrimination is a “failure to make reasonable
23     modifications in policies, practices or procedures, when such modifications are
24
       necessary to afford goods, services, facilities, privileged, advantages or
25
       accommodation to individuals with disabilities, unless the entity can demonstrate
26
       that making such modifications would fundamentally alter the nature of such goods,
27
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
28
                                             12
                                          COMPLAINT
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 1     12182(b)(2)(A)(ii).
 2           36.     The ADA prohibits failing to remove structural architectural barriers in
 3
       existing facilities where such removal is readily achievable. 42 U.S.C. §
 4
       12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
 5
       accomplishable and able to be carried out without much difficulty or expense.” Id.
 6
       § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
 7
       Part 36.
 8
             37.     In the event removal of any barrier is shown to not be readily
 9
10     achievable, a failure to make goods, services, facilities, or accommodations

11     available through alternative methods is also prohibited if these methods are readily

12     achievable. Id. § 12182(b)(2)(A)(v).
13           38.     Plaintiff alleges that Defendant can easily remove the architectural
14     barriers at their facility without much difficulty or expense, and that Defendant
15     violated the ADA by failing to remove those barriers because it was readily
16     achievable to do so. There are companies in the area which can repaint the parking
17     areas for as little as $350. Defendants can afford such costs given they are a fraction
18
       of what the Defendants takes in rental profits for such a large and expensive
19
       property.
20
             39.     In the alternative, if it was not “readily achievable” for Defendants to
21
       remove the facilities barriers, the Defendants violated the ADA by failing to make
22
       the required services available through alternative methods, which are readily
23
       achievable.
24
25           40.     On information and belief, the facility was modified after January 26,

26     1992, mandating access requirements under the ADA.
27           41.     The ADA requires that facilities altered in a manner that affects or
28     could affect its usability must be made readily accessible to individuals with
                                            13
                                         COMPLAINT
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 1     disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
 2           42.    Plaintiff alleges that Defendants altered the facility in a manner that
 3
       violated the ADA and was not readily accessible to physically disabled persons,
 4
       including Plaintiff, to the maximum extent feasible.
 5
             43.    The ADA also requires reasonable modification in policies, practices,
 6
       or procedures when necessary to afford such goods, services, facilities, or
 7
       accommodations to individuals with disabilities, unless the entity can demonstrate
 8
       that making such modifications would fundamentally alter their nature. 42 U.S.C. §
 9
10     12182(b)(2)(A)(ii).

11           44.    Plaintiff alleges that Defendants violated the ADA by failing to make

12     reasonable modifications in policies, practices, or procedures at the facility when
13     these modifications were necessary to afford (and would not fundamentally alter the
14     nature of) these goods, services, facilities, or accommodations.
15           45.    Plaintiff seeks a finding from this Court that Defendants violated the
16     ADA in order to pursue damages under California’s Unruh Civil Rights Act for
17     Disable Persons Act.
18
             46.    Here the Defendants’ failure to make sure that accessible facilities
19
       were available and ready to be used by the Plaintiff is a violation of law.
20
             47.    Plaintiff would like to continue to frequent Defendants’ facility
21
       because of because it is close to her home, but Plaintiff has been discriminated
22
       against and continues to be discriminated against because of the lack of accessible
23
       features.
24
25           48.    Among the remedies sought, Plaintiff seeks an injunction order

26     requiring compliance with the state and federal access laws for all the access
27     violations that exist at the Property.
28       V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
                                            14
                                         COMPLAINT
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 1                                   (Cal. Civ. Code § 51-53.)
 2
                                      (Against All Defendants)
 3
 4            49.    Plaintiff repleads and incorporates by reference, as fully set forth again
 5     herein, the allegations contained in all prior paragraphs of this complaint.
 6            50.    California Civil Code § 51 states, in part: All persons within the
 7
       jurisdictions of this state are entitled to the full and equal accommodations,
 8
       advantages, facilities, privileges, or services in all business establishments of every
 9
       kind whatsoever.
10
              51.    California Civil Code § 51 also states, in part: No business
11
       establishment of any kind whatsoever shall discriminate against any person in this
12
       state because of the disability of the person.
13
14
              52.    California Civil Code § 51(f) specifically incorporates (by reference)

15     an individual’s rights under the ADA into the Unruh Act.

16            53.    The Unruh Act also provides that a violation of the ADA, or California
17     state accessibility regulations, is a violation of the Unruh Act. Cal Civ. Code, §
18     51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
19     (N.D.Cal.1994).
20            54.    Defendants’ above-mentioned acts and omissions have violated the
21     Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
22
       advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
23
       disability.
24
              55.    Defendants’ above-mentioned acts and omissions have also violated
25
       the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
26
       are liable for damages. (Civ. Code § 51(f), 52(a)).
27
              56.    Because violation of the Unruh Civil Rights Act resulted in difficulty,
28
                                            15
                                         COMPLAINT
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 1     discomfort or embarrassment for the Plaintiff, the Defendants are also each
 2     responsible for statutory damages, such as a civil penalty. (Civ. Code § 55.56(a)-
 3
       (c)).
 4
               57.      Plaintiff was actually damaged.
 5
               58.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
 6
       statutory minimum damages of four thousand dollars ($4,000) for each offense.
 7
                                        PRAYER FOR RELIEF
 8
                        WHEREFORE, Plaintiff prays judgment against Defendants, as
 9
10     follows:

11             1. For injunctive relief, compelling Defendants to comply with the

12                   Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
13                   Plaintiff is not invoking section 55 of the California Civil Code and is not
14                   seeking injunctive relief under the Disabled Person Acts.
15             2. Damages under the Unruh Civil Rights Act which provides for actual
16                   damages and a statutory minimum of $4,000 per each offense
17             3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
18
                     42 U.S.C. § 12205; and Cal. Civ. Code § 52.
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       DATED: January 29, 2020                    THE LAW OFFICE OF HAKIMI & SHAHRIARI
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                                            By:   /s/ Peter Shahriari, Esq.____________
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                                                  PETER SHAHRIARI, ESQ.
25                                                Attorney for Plaintiff Sandra Edmonds
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                                            COMPLAINT
